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Financial fraud

Tory donor charged in Puerto Rico bribery scheme

Venezuelan financier Julio Herrera Velutini has given more than £500,000 since Boris Johnson became

UK prime minister

Julio Herrera Velutini relocated to London in recent years

Cynthia O’Murchu, Stefania Palma and Jasmine Cameron-Chileshe AUGUST 5 =a
2022

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US authorities have charged a significant donor to the Tory party, alleging that he

illegally provided campaign donations to a former governor of Puerto Rico in a

scheme to remove a senior banking regulator from his post.

The charges brought by the US Department of Justice against Julio Herrera
Velutini, a Venezuelan banker who relocated to London in recent years, threaten to

rekindle controversy over Tory party fundraising.

He has donated more than half a million pounds to the party since Boris Johnson
took office, including £100,000 days before the 2019 general election. The
donations were made through Britannia Financial, the Venezuelan financier’s

London-based financial services group, which has not been accused of wrongdoing.
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More recently, Britannia Financial sponsored the platinum jubilee Pageant, which
marked the 70-year anniversary of the Queen’s accession to the throne.

Herrera Velutini was on Thursday charged with conspiracy, federal programs
bribery and honest services wire fraud, for his alleged role in providing campaign
funding to the former governor of Puerto Rico, Wanda Vazquez Garced, ahead of
the US territory's 2020 gubernatorial election.

Vazquez Garced was arrested on Thursday by the FBI and accused of accepting the
bribes while in office. The indictment, filed on Wednesday, alleges Herrera Velutini
wanted Vazquez Garced to help quash a probe into his Puerto Rico-based lender
Bancredito, which is referred to as “the Bank” in the filing.

Herrera Velutini and an adviser allegedly paid more than $300,000 to political
consultants in support of Vazquez Garced’s campaign, according to the indictment.
In return, she officially requested the resignation of the then commissioner for the
island’s financial regulator in order to appoint a replacement who had been picked
by Herrera Velutini, the DoJ alleged.

OCIF, Puerto Rico’s financial regulator, had been probing Bancredito since 2019
and last December imposed penalties on the bank. Bancredito did not respond to a
request for comment.

Bancredito’s former chief executive and a political consultant who worked on
Vazquez’s 2020 campaign each “pleaded guilty to conspiring with Herrera Velutini
and others to bribe Public Official A” in March, according to the DOJ.

Representatives for Britannia Financial and Herrera Velutini did not provide any
on-record comment.

The charges against Herrera Velutini threaten to put further pressure on the
Conservative party and its chair Ben Elliot, whose energetic fundraising efforts
have attracted controversy.

During Elliot’s tenure, which began in July 2019, the Tory party accepted
contentious donations — including from the wife of Vladimir Putin’s former
finance minister — which have led opposition leader Keir Starmer to call for his
resignation.

Elliot — the well-connected nephew of Prince Charles’ wife, Camilla — has also
faced questions over links between his businesses and his campaign fundraising.
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The Financial Times last year reported that a number of clients of Hawthorn
Advisors, a PR firm co-founded by Elliot — including Herrera’s Britannia Financial
Group — made substantial donations to the Conservative party since Elliot took
over responsibility for fundraising.

Herrera’s executive assistant at Britannia previously worked for Elliot, according to
her LinkedIn profile, which has since been redacted. Elliot stepped down as a
Hawthorn director in April 2020. Hawthorn declined to comment.

If convicted on all charges, Vazquez Garced, Herrera Velutini and his consultant
each face a maximum penalty of 20 years in prison, according to US authorities.

A lawyer for Vazquez Garced said that she was “absolutely and totally innocent of
all the charges against her” and planned to defend her case at trial.

A Conservative party spokesperson said: “Donations to the Conservative party are
properly and transparently declared to the Electoral Commission, openly
published by them and comply fully with the law.”

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Politics

Banker at Center of Puerto Rico Corruption Scandal Denies
Guilt

®@ Bancredito founder Julio Herrera was arraigned in San Juan
@ Herrera is accused of bribing former Gov. Wanda Vazquez

Former Governor Wanda Vazquez in San Juan, Puerto Rico, in June 2020. Photographer: Ricardo
Arduengo/AFF/Getty Images

By Jim Wyss
31 August 2022 at 20:25 BST

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The Venezuelan financier in the middle of a Puerto Rican bribery scandal that led to the
indictment of the island’s former governor has declared himself not guilty to a laundry
list of federal corruption charges.

Julio Martin Herrera Velutini, the founder of Bancredito International Bank & Trust
Corp., appeared before a judge in San Juan Wednesday. He was subsequently released
ona $1 million bond and will await trial at his home in New York.

The government alleges that Herrera -- working through former FBI agent Mark Rossini --
offered to finance the 2020 election campaign of then-Governor Wanda Vazquez if she
would fire the head of the Office of the Commissioner of Financial Institutions of Puerto
Rico. The office had been investigating Bancredito since 2019.
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The government says Vazquez complied and named a new commissioner in May 2020
who was “a former consultant for the international bank owned by Herrera.”

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Vazquez and Rossini have also said they are not guilty of the charges.

Herrera is facing seven counts, including federal grand bribery, federal program bribery,
conspiracy, honest services fraud and honest services wire fraud. The fraud charges
alone each carry a 20-year maximum prison sentence.

Bancredito, founded in 2009 and based in Puerto Rico, is in the process of voluntary
liquidation co .

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BY DANICA COTO
Published 8:02 PM GMT, August 31, 2022

SAN JUAN, Puerto Rico (AP) — An international banker accused of bribing Puerto Rico’s then-
governor to undermine an investigation into his institution turned himself in on Wednesday,
almost a month after he was charged in federal court.

Julio Herrera Velutini, who is a citizen of Venezuela and Italy and who was thought to be living in
the United Kingdom, pleaded not guilty hours after he was arrested in Puerto Rico and was
ordered held on a $1 million secured bond.

Herrera faces several charges, including bribery and honest services wire fraud — which implies a
third party being harmed by the bribery or kickbacks.

Federal authorities said the Puerto Rico-based Bancredito International Bank & Trust that
Herrera owned came under scrutiny in 2019 when Puerto Rico's Office of the Commissioner of
Financial Institutions began probing suspicious transactions that the bank did not report.

Officials alleged that Herrera and a former FBI agent who served as his consultant promised to
financially support former Gov. Wanda Vazquez's 2020 campaign for governor if she dismissed
the commissioner and appointed a new one of Herrera’s choosing.

Authorities said Vazquez accepted the bribe, demanded the commissioner's resignation and
appointed a former consultant for Herrera’s bank as the new commissioner in May 2020.

Officials said Herrera and Mark Rossini, the ex-FBl agent, then paid more than $300,000 to
political consultants to support Vazquez's campaign.

Rossini, who was in Spain and turned himself in days after he was accused, has pleaded not
guilty. Vazquez was arrested in Puerto Rico and was released on a $50,000 unsecured bond after
pleading not guilty.

The judge, Giselle L6pez-Soler, allowed Herrera to live in New York ahead of the trial, adding that
he must surrender his passport once he arrives. His bank is in the process of being liquidated.
